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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DISTRICT

 UNITED STATES OF AMERICA                                             PLAINTIFF/RESPONDENT

                v.                     Civil No.    2:10-CV-02166
                                       Criminal No. 2:09-CR-20026-007-RTD

 SALVADOR ZARATES                                                     DEFENDANT/MOVANT


                                             ORDER



        Movant, a federal prisoner presently housed at the FCI Pollock, Federal Correctional

 Institution, P.O. Box 4050, Pollock, LA 71467, has filed a Motion Under 28 U.S.C. §2255 for

 review by this court (Doc. 163). Having reviewed the motion, Respondent is ordered to file a

 response within thirty (30) days from the date of this order.



        IT IS SO ORDERED this November 4, 2010.




                                                       /s/J. Marschewski
                                                       James R. Marschewski
                                                       United States Magistrate Judge
